  Case: 1:02-cr-00200 Document #: 1877 Filed: 05/10/19 Page 1 of 2 PageID #:7611
                                                                                              %
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DTVISION

UNITED STATES                             )
                                          )             02 CR 2oo-22
       v.                                 )
                                          )             Judge Rebecca Pallmeyer
ANDRE I.{WRENCE                           )

                                         ORDER

       Defendant Andrew Lawrence has moved for a reduction in his sentence pursuant

to   Section 4o4 of the First Step Act in case number oz CR 2oo-22, requesting the

combined sentence on Counts One and Thirty-Nine of 3oo months'imprisonment being

reduced to a sentence of time served. Lawrence seeks an order directing his immediate

release, pursuant to the First Step Act. (First Step Act of zor8, P.L. rr5-391, S. 4o4, rB2

Stat. 5194). The court having reviewed the record and the parties' memoranda of law, IT

IS HEREBY ORDERED:

       Defendant's Amended Motion For Reduced Sentence Under Section 4o4 of the

First Step Act in case number 02 CR zoo-zz is GRANTED. Defendant's sentence of z4o

months' imprisonment as to Count One is reduced to time served, pursuant to the First

Step Act. (First Step Act of zor8, P.L. n5-391, S. 4o4, tg2 Stat. 5194). The court further

finds that the reduction in the sentence as to Count One results in the consecutive 6o

month sentence of imprisonment on Count Thirty-Nine as also having been served.

Therefore, the court orders Defendant's immediate release.

       IT IS FURTHER ORDERED: Defendant's term of supervised release is reduced to

a term of B years as to Count One. Defendant's terms of supervised release are further

modified to require residence at a BOP residential reentry center for the first 1zo days of

Defendant's term of supervised release.    All of the other terms and conditions of the
previous judgment remain unchanged.
Case: 1:02-cr-00200 Document #: 1877 Filed: 05/10/19 Page 2 of 2 PageID #:7612




                                          REBECCA R. PALLMEYER
                                          United States District Judge
